                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              3:16-CR-00307-RJC-DCK
 USA,                                            )
                                                 )
                 Plaintiff,                      )
                                                 )
    v.                                           )         ORDER
                                                 )
 WILLIE NEVIUS (4),                              )
                                                 )
                 Defendant.                      )
                                                 )



         THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 177), of the Indictment, (Doc. No. 61), as to Willie Nevius, without prejudice.

         IT IS, THEREFORE, ORDERED that the Government’s motion, (Doc. No. 177), is

GRANTED and the Indictment, (Doc. No. 61), is DISMISSED as to Willie Nevius, without

prejudice.

 Signed: June 6, 2017




    Case 3:16-cr-00307-RJC-DCK           Document 181        Filed 06/07/17      Page 1 of 1
